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                             UNITED STATES DISTRICT COURT
                            CENTRAL DISTRICT OF CALIFORNIA                               'OCT 2 8 2.~Z i
                                                                                                  o~
                                  CRIMINAL MINUTES -GENERAL
  Case No.                ~~ /~ J .• ~ q ~ 6                               Date     October 28, 2021
                          .,
  Title        United States v.



 Present: The Honorable Pedro V. Castillo, United States Magistrate Judge
                 Marlene Ramirez                                             n/a
                   Deputy Clerk                                    Court Reporter /Recorder
           Attorneys Present for Government:                  Attorneys Present for Defendant:
                         n/a                                                  n/a
 Proceedings:            ORDER OF DETENTION [18 U.S.C. § 3142(1)]

          The Court conducted a detention hearing on:
       C~       The motion ofthe Government[18 U.S.C. § 31420(1)] in a case allegedly
involving:           ~J~ af,~.S,C r,~(~'~- ~O yl -I~ ~v►a~C~~„~,►•i
      ❑     The motion ofthe Government or on the Court's own motion[18 U.S.C.
§ 31420(2)] in a case allegedly involving:
               The Court concludes that the Government is entitled to a rebuttable presumption
 that no condition or combination of conditions will reasonably assure the defendant's
 appearance as required and the safety or any person or the community [18 U.S.C. § 3142(e)
(2-3)].
             The Court finds that the defendant ❑haste has not rebutted the presumption
 under 8 U.S.C. § 3142(e)(2-3) by sufficient evidence to the contrary.
                                              * **
       The Court finds that no condition or combination of conditions will reasonably assure:
              C~the appearance of the defendant as required (as proven by a preponderance of
the evidence).
                 the safety of any person or the community (as proven by clear and convincing
evidence).




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                             UNITED STATES DISTRICT COURT
                            CENTRAL DISTRICT OF CALIFORNIA


                                  CRIMINAL MINUTES -GENERAL
 Case No.                          `Z ~ _ M J - c.' ~J c .~,             Date   October 28, 2021
 Title         United States v.    ~A ~^ ~/~~             ~~
                                   ~~~                               ~- C~c~'~
      The Court bases its findings (in addition to any made on the record at the hearing) on the
following [18 U.S.C. § 3142(g)]:
                [~-    Nature and circumstances of offense charged
                 C~    Weight of known evidence against defendant
                 C~,   Lack of bail resources or financially responsible sureties
                 ❑     No stable residence, employment, or community ties
                ~1     Ties to foreign countries
                 ❑     Substance abuse
                 ❑     Nature of previous criminal convictions
                 ❑     Previous failure to appear or violations of probation, parole, or release
                 ❑     Already in custody on state or federal offense
                 ❑     Refusal to interview with Pretrial Services or verify information
                ~I     Unrebutted presumption [18 U.S.C. § 3142(e)(2-3)]
                 ❑     Other:

         ❑      Defendant did not oppose the detention request.

       In reaching this decision, the Court considered:(a)the nature and circumstances of the
offenses)charged, including whether the offense is a crime of violence, a federal crime of
terrorism, or involves a minor victim or a controlled substance, firearm, explosive, or destructive
device;(b)the weight of evidence against the defendant;(c)the history and characteristics of the
defendant; and (d)the nature and seriousness of the danger to any person or the community.
[18 U.S.C. § 3142(g)] The Court also considered the evidence presented at the hearing, the
arguments of counsel, and the report and recommendation of the U.S. Pretrial Services Agency.
        IT IS THEREFORE ORDERED that the defendant be detained until trial. The defendant
will be committed to the custody of the Attorney General for confinement in a corrections
facility separate, to the extent practicable, from persons awaiting or serving sentences or being
held in custody pending appeal. The defendant will be afforded reasonable opportunity for
private consultation with counsel. On order of a Court of the United States or on request of any
attorney for the Government, the person in charge of the corrections facility in which defendant
is confined will deliver the defendant to a United States Marshal for the purpose of an
appearance in connection with a court proceeding. [18 U.S.C. § 3142(1)]




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